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         EXHIBIT 13
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                                                                            -1 of 2 -                                                                   OFFICIAL RECORD
   FD-302 (Rev. 5-8-10)
                                                                UNCLASSIFIED//FOUO
                                                     FEDERAL BUREAU OF INVESTIGATION




                                                                                                                             Date of entry       02/26/2023


                                                     FEDERAL GRAND JURY INFORMATION
  This document contains Federal Grand Jury information and would reveal the strategy or
  direction of the investigation, the nature of the evidence produced before the grand
  jury, the views expressed by members of the grand jury, or any other matters which have
  occurred, which are occurring, or which are likely to occur before the grand jury. The
  information may not be disclosed, within or outside the FBI, except, as provided for in
  Federal Rule of Criminal Procedure 6(e)(3): (1) to an attorney for the government for use
  in performing that attorney's duty, or, at the direction of an attorney for the
  government; (2) to any government personnel         including those of a state, state
  subdivision, Indian tribe, or foreign government     that an attorney for the government
  considers necessary to assist in performing that attorney's duty to enforce federal
  criminal law; (3) to an attorney for the government for the use in enforcing 12 U.S.C. §
  1833a or any civil forfeiture provision of Federal law; (4) to another federal grand
  jury; (5) pursuant to Rule 6(e) (3)(D) (regarding the disclosure of foreign intelligence,
  counterintelligence, or foreign intelligence information); (6) or as authorized by the
  court.



                On February 23, 2023,                                                        , Special Agent,
                                                    , United States Secret Service, cell phone number
                           , email address                                                 @usss.dhs.gov, was interviewed by
           phone by Federal Bureau of Investigation Special Agent                                                                                                  .
           United States Department of Justice Attorney Stephen Marzen was present and
           participating in the interview.                                    After being advised of the identity of the
           interviewing agents, and the nature of the interview,                                                                               provided the
           following information:

                [AGENT NOTE: CORRECTION:                                                 was a United States Secret Service
           Special Agent assigned to the
                                                                      as noted in the referenced document.]

                                         supervisor and the United States Marshals Service were aware
           that                          entered the grand jury room during former
                          Per. 44                             testimony before a federal grand jury in the United
           States District Court for the District of Columbia on February 16, 2023.
           However,                                 has not discussed the substance of the testimony with



                                                                   UNCLASSIFIED//FOUO


      Invcstigationon     02/23/2023           at    Washington, District Of Columbia, United States (Phone)

      Filed                                                                                                                     Date drafted    02/23/2023

      by
     This document contains neither recommendations nor conclusions of the FBI. It is the property of the FBI and is loaned to your agency; it and its contents are not
     to be distributed outside your agency.



Subject to Protective Order                                                                                                                                  USA-00812836
       Case
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                                               UNCLASSIFIED//FOUO


                            (U//FOUO) Second Interview of
  ContinuationofFD-302 of             and Service of Court Order       ,On   02/23/2023   Page   2 of 2




           anyone. To that end,            agreed to accept service by email of an
           Order issued by the United States District Court for the District of
           Columbia ordering           to not disclose what he heard in the grand jury
           room.

                [AGENT NOTE: During the interview,                  described the substance of the
           above -referenced         Order.]




                On February 23, 2023, after the interview,                served                 the
           above-referenced Order by email at                            usss.dhs.gov.
           confirmed receipt the same day.

              Notes from this interview, the Order referenced above, and related
           communications are digitally maintained in the 1A.




                                               UNCLASSIFIED//FOUO


Subject to Protective Order                                                                        USA-00812837
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         EXHIBIT 14
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                                                        U.S. Department of Justice

                                                        Special Counsel’s Office




                                                          October 16, 2023

    Todd Blanche, Esq.
    Emil Bove, Esq.
    Stephen Weiss, Esq.
    Blanche Law
    Via email

    Chris Kise, Esq.
    Chris Kise & Associates, P.A.
    Via email

           Re:      United States v. Donald J. Trump, et al., Case No. 23-CR-80101(s)

    Dear Counsel:

            We write in response to your discovery letter, dated October 9, 2023, which makes 39
    discovery requests, some of which include multiple sub-parts. Many of your requests call for
    information that has already been produced, and in instances where they call for specific
    documents that we have already produced, we identify the documents for you by Bates number.
    Many other requests are follow-up questions regarding documents that we have produced far in
    excess of our discovery obligations. See, e.g., USA-0000941498-00941509 (documents related to
    the FBI’s review of CCTV footage; defense has equal access to the footage); USA-00940248
    (documenting the conversion of the FBI’s investigation into what the FBI terms a “full
    investigation”); USA-0090483-USA-00940484 (documenting a request from FBI to DOJ for
    assistance); USA-00941747-USA-00941749 (email chain regarding overtime approval for FBI
    agents); USA-00941912-USA-00941913 (report and notes regarding a conversation with counsel
    to discuss compliance with a grand jury subpoena that issued the same day). That we have
    exceeded our discovery obligations by no means obligates the Government to produce additional
    information that is not discoverable. To the extent that we are producing any additional
    information to you in response to the discovery requests in your October 9, 2023 letter, we do so
    notwithstanding the Government’s belief that such production exceeds its current discovery
    obligations.

            Regarding the query at the outset of your letter, we disagree with how you define the
    prosecution team. Your definition is overly broad. The prosecution team consists of the
    prosecutors of the Special Counsel Office and law enforcement officers of the Federal Bureau of
    Investigation (FBI) who are working on this case, including members of the FBI’s Washington
    Field Office and Miami Field Division. The prosecution team does not include agencies and
    components whose personnel are not working on this case. For that reason, as we stated in
    response to your prior question about the scope of the prosecution team, the National Archives and
    Records Administration (NARA), the U.S. Secret Service, and the White House are not part of the
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    prosecution team. (See Letter dated September 22, 2023.) Likewise, and in response to the
    specifics of your query in this letter, the prosecution team does not consist of the components of
    the Department of Justice you have listed; the components of NARA you have listed; members of
    the Intelligence Community (IC), as that term is defined in 50 U.S.C. § 3003(4), including the
    Office of the Director of National Intelligence and the IC’s Office of the Inspector General; nor
    the White House Counsel’s Office.

           We respond to your requests below using the numbering from your letter.

       1. The Government has already produced all responsive material to which the defense is
          entitled.

       2. The Government has already produced all responsive material to which the defense is
          entitled. For example, the Government produced photographs from the search warrant (see
          USA-00042639-USA-00043193 and Classified Discovery Production 3) and sketches
          from the search (USA-00042655-USA-00042656). Nonetheless, we are producing with
          this letter at USA-0128517-USA-01285194 and USA-01285286-USA-01285306 two
          additional documents relating to the planning of the search warrant and a photo log.

       3. The Government provided as Exhibit A to its October 6, 2023 classified letter
          accompanying Classified Discovery Production 3 a spreadsheet that provides information
          related to this request.

       4. Your request does not appear to call for the production of material to which the defense is
          entitled. Please explain the defense’s theory of discoverability.

       5. This information has been provided to counsel in the source logs the Government has
          attached to each of its unclassified discovery productions. Nonetheless, the Government
          provides below the Bates range for the scoped returns provided to the defense in this case:

                      Carlos De Oliveira Google
                          o USA-01117024 – USA-01122372
                          o USA-01125563 – USA-01125896
                      Carlos De Oliveira Mobile
                          o USA-00402920 – USA-00413873
                      Carlos De Oliviera Verizon
                          o USA-01115989 – USA-01116024
                           Per. 10        Adobe Cloud
                          o USA-00413874 – USA-00415925
                           Per. 10        Laptop
                          o USA-00415926 – USA-00416468
                          o USA-00950779 – USA-00958027
                      Mar-a-Lago
                          o USA-00337507 – USA-00359428
                        Per. 34      Laptop


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                         o USA-00416469 – USA-00447955
                        Per. 34    Microsoft
                         o USA-00447956 – USA-00492117
                        Per. 34    Mobile
                         o USA-00492118 – USA-00509692
                     Save America Thumb Drive
                         o USA-00509693 – USA-00513545
                     Walt Nauta Google
                         o USA-00513546 – USA-00544136
                     Walt Nauta iCloud
                         o USA-00544137 – USA-00637698
                     Walt Nauta Microsoft
                         o USA-00637699 – USA-00650801
                     Walt Nauta Verizon
                         o USA-00788381 – USA-00788430
                     Walt Nauta iPhone 12
                         o USA-00792879 – USA-00798834
                         o USA-01125897 – USA-01208507
                     Walt Nauta iPhone 13
                         o USA-00798835 – USA-00800019
                         o USA-01208508 – USA-01260871

       6. The request for “steps” taken by law enforcement does not call for material that is
          discoverable under Rule 16 of the Federal Rules of Criminal Procedure. The Government
          has produced all CCTV obtained in its investigation (in unclassified Productions 1 & 3)
          and certain information concerning the processing of CCTV. See, e.g., USA-00940440-
          USA-00940441; USA-00940610-USA-00940611; USA-00941377- USA-00941382;
          USA-00950299-USA-00950301; and USA-01116828.

       7. The request for “steps” taken by Deloitte does not call for material that is discoverable
          under Rule 16. The Government has produced all material to which the defense is entitled
          in this regard.

       8. The referenced documents were produced to you at the following Bates ranges:
              1B1: USA-00042144
              1B3: USA-00042197-USA-00042199
                     o Although this form indicates it is for 1B23, the item at issue was referred to
                        as 1B3 prior to the form being declassified.
              1B13: USA-00042152-USA-00042154
              1B14: USA-00042155-USA-00042157
              1B16: USA-00042160-USA-00042162
              1B12: USA-00042149-USA-00042151
              1B2: USA-00042176-USA-00042179
              1B64: USA-00042583-USA-00042585


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       9. Your request does not call for material that is discoverable under Rule 16. Nonetheless,
          we hereby inform you that pursuant to FBI policy, certain documents were classified due
          to their association with this case and/or file type, although the contents of the documents
          themselves were not classified. The FBI declassified such documents in anticipation of the
          Government seeking an indictment in this case to facilitate the production of the documents
          in discovery.

       10. The request calls for material that is not discoverable under Rule 16, such as a “description”
           of and the “purpose” of documents. The Government has produced all material to which
           the defense is entitled regarding these documents. Nonetheless, we hereby inform you that
           documents referenced in 10a. through 10h. relate to inventories of the boxes seized at Mar-
           a-Lago on August 8, 2022, pursuant to a court-authorized search warrant. On June 21,
           2023, the Government informed defense counsel that they could contact the Government
           to arrange for inspection of unclassified items seized at Mar-a-Lago on August 8, 2022.
           See ECF No. 30. The Government hereby further informs you that the documents
           referenced in 10.i. through 10.j. are draft documents related to the FBI’s review of CCTV
           footage.

       11. The responses to the multiple sub-parts of your request are provided below.

              a. Your request does not appear to call for the production of material to which the
               defense is entitled. Please explain the defense’s theory of discoverability. We have
               conducted a review of notes from meetings with the Intelligence Community. All
               discoverable information was provided to you with Classified Discovery Production
               3, and no information from these notes was deemed discoverable.

              b. Your request does not appear to call for the production of material to which the
               defense is entitled. Please explain the defense’s theory of discoverability. We have
               conducted a review of notes from meetings with the Intelligence Community. All
               discoverable information was provided to you with Classified Discovery Production
               3, and no information from these notes was deemed discoverable.

              c. The attachments were provided to you at USA-00816009-USA-00816126 and
               USA-00825340-USA-00825476.

              d. We are producing with this letter at USA-01285201-USA-01285206 the inventory
               of the documents the Government obtained on June 3, 2023, in response to a May 11,
               2023 grand jury subpoena. The documents themselves were provided to you in
               Classified Discovery Production 1.

              e. The referenced letter was provided to you at USA-00944017-USA-00944020. It is
               also publicly available at

                  https://www.archives.gov/files/foia/wall-letter-to-evan-corcoran-re-trump-boxes-
                  05.10.2022.pdf



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            f. The inventory was provided to you at USA-00940767-USA-00940822. The subset
             of the NARA inventory was provided to you at USA-00940823-00940826. We are
             producing with this letter at USA-01285223-USA-01285282 unredacted versions of
             both inventories.

            g. The referenced enclosed items were provided to you at:

                          1.  Item 33 Box A-33: USA-00940156-USA-00940163
                          2.  Item 32 Box A-13: USA-00940166-USA-00940171
                          3.  Item 31 Box A-43: USA-00940311-USA-00940315
                          4.  Item 30 Box A-26: USA-00940131-USA-00940135
                          5.  Item 28 Box A-73 and Item 29 Box A-14: USA-00940152- USA-
                              00940155
                          6. Item 27 Box A-71: USA-00940140-USA-00940141
                          7. Item 26 Box A-42: USA-00940317-USA-00940349
                          8. Item 25 Box A-41: USA-00940164-USA-00940165
                          9. Item 24 Box A-40: USA-00940301-USA-00940302
                          10. Item 23 Box A-39: USA-00940357-USA-00940361
                          11. Item 20 Box A-22: USA-00940306-USA-00940310
                          12. Item 19 Box A-23: USA-00940173-USA-00940176
                          13. Item 18 Box A-35: USA-00940303-USA-00940305
                          14. Item 17 Box A-32: USA-00940350-USA-00940351
                          15. Item 16 Box A-30: USA-00940123-USA-00940128
                          16. Item 15 Box A-28: USA-00940352-USA-00940356
                          17. Item 14 Box A-27: USA-00940368-USA-00940373
                          18. Item 13 Box A-18: USA-00940142-USA-00940151
                          19. Item 12 Box A-17: USA-00940295-USA-00940300
                          20. Item 11 Box A-16 USA-00940374-USA-00940383
                          21. Item 10 Box A-15: USA-00940116-USA-00940122
                          22. Item 9 Box A-12: USA-00940177-USA-00940186
                          23. Item 8 Box A-1: USA-00940362-USA-00940367
                          24. Item 5: USA-00940136-USA-00940139
                          25. Item 4: USA-00940187-USA-00940198
                          26. Item 2: USA-00940199-USA-00940212
                          27. Item 1, 3, 6, 7: USA-00940316
                          28. Evidence Report for Case: USA-00940234-USA-00940235

            h. The referenced enclosure is duplicative of g above.

            i. The enclosure was provided to you at USA-00940839-USA-00940841.

            j. The enclosed logs were provided to you at USA-00042642-USA-00042647 and
             USA-00042649. The enclosed sketches were provided to you at USA-00042655-
             USA-00042656. The enclosed CD contents were provided to you at USA-00042657
             and USA-00042658-USA-00042659.



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            k. Your request does not appear to call for the production of material to which the
             defense is entitled. Please explain the defense’s theory of discoverability.

            l. Your request does not appear to call for the production of material to which the
             defense is entitled. Please explain the defense’s theory of discoverability.

            m. We are producing with this letter at USA-01285209-USA-01285215 the enclosure.

            n. We are producing with this letter at USA-01285307-USA-01285309 the scanned
             versions of the hard-copy documents that were attached to the specified form.

            o. The attachments were provided to you at USA-00940423-USA-00940441.

            p. The enclosures were provided to you at USA-00940472 and USA-00940823-USA-
             00940826. We are producing with this letter at USA-01285216-USA-01285219 an
             unredacted version of the subset of the inventory.

            q. We are producing with this letter at USA-01285220-USA-01285222 the referenced
             notes.

            r. Your request does not appear to call for the production of material to which the
             defense is entitled. Please explain the defense’s theory of discoverability.

            s. The enclosures were provided to you at USA-00940487-USA-00940489 and USA-
             00800183-USA-00800201.

            t. The referenced recording was provided to you at USA-00815949.

            u. The referenced notes were provided to you at USA-00800202-USA-00800209.

            v. The brief inventory was provided to you at USA-00940823-00940826. The
             detailed inventory was provided to you at USA-00940767-USA-00940822. We are
             producing with this letter at USA-01285223-USA-01285282 unredacted versions of
             both inventories.

            w. We are producing to you in classified discovery at classified Bates Numbers 5372-
            5386 the notes.

            x. The referenced notes were produced to you at USA-00814513-USA-00814520.

            y. The email relaying the classified document counts was provided to you at USA-
             00940953-USA-00940958. We are producing with this letter the spreadsheet at USA-
             01285283.




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            z. The referenced maps/diagrams were produced to you at USA-00042657 and USA-
             00042658-USA-00042659.

            aa. It is unclear what you are seeking in this request, but to the extent that you are
             seeking the boxes seized during the search warrant, they are available for your
             inspection.

            bb. The referenced recording was provided to you at USA-00819446.

            cc. The referenced documents were provided to you in classified discovery at classified
             Bates numbers 0220-0225.

            dd. The items provided to the Government by Trump’s attorney on January 5, 2023,
             are available for inspection.

            ee. We are producing with this letter at USA-01285207 the referenced email.

            ff. The inventory was provided to you at USA-00940767-USA-00940822. The subset
             of the NARA inventory was provided to you at USA-00940823-00940826. We are
             producing with this letter at USA-01285223-USA-01285282 unredacted versions of
             both inventories.

            gg. Your request does not appear to call for the production of material to which the
             defense is entitled. Please explain the defense’s theory of discoverability.

            hh. The contents of the referenced logbooks were provided to you at USA-00788281-
             USA-00788364.

            ii. The referenced certification was provided to you at USA-00805544.

            jj. The referenced interview materials were provided to you at USA-00820233-USA-
             00820236 and USA-00824954-USA-00824957.

            kk. The agents notes and the recording from this interview were provided to you at
             USA-00815848-USA-00815855 and USA-00815677, respectively.

            ll. We are producing with this letter at USA-01285208 the referenced notes.

            mm.      The referenced notes were provided to you at USA-00826230-USA-
            00826237.

            nn. We are producing with this letter at USA-01285195-USA-01285199 the enclosed
             email.




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             oo. The enclosures were provided to you at USA-00941453 and USA-941454. The
              referenced “Google Map Print Out” was provided to you at USA-00750358-USA-
              00750359. As explained in the letter accompanying unclassified Production 2, the
              relevant contents of the referenced hard drive were provided to you at USA-00958032-
              USA-01115988.

             pp. Your request does not appear to call for the production of material to which the
              defense is entitled. Please explain the defense’s theory of discoverability.

             qq. The referenced email correspondence was provided to you at USA-00942009-
              USA-00942010.

             rr. The referenced materials provided by      Per. 18     were provided to you at USA-
              00041491-USA-00041510.

             ss. The enclosed certification and exhibits were provided to you at USA-00387555-
              USA-00387566; USA-00651017-USA-00651020; USA-00651021-USA-00651044;
              USA-00651045-USA-00651050; and USA-00651051-USA-00651065.

             tt. Your request does not appear to call for the production of material to which the
              defense is entitled. Please explain the defense’s theory of discoverability.

             uu. The referenced transcript was provided to you at USA-00810700-USA-00810803.
              The remainder of your request does not appear to call for the production of information
              to which the defense is entitled. Please explain the defense’s theory of discoverability.

             vv. Your request does not appear to call for the production of material to which the
              defense is entitled. Please explain the defense’s theory of discoverability.

             ww.       We are producing with this letter at USA-01285171-USA-01285172 the
             referenced email correspondence.

      12. The Government has already produced all responsive material to which the defense is
          entitled. As we have conveyed, NARA is not part of the prosecution team, and we have
          produced all discoverable materials the Government obtained from NARA in its
          investigation of this matter. (See Letter dated September 22, 2023.)

      13. The request for “identif[ication]” of NARA referrals does not call for material that is
          discoverable under Rule 16. We have produced all materials to which you are entitled
          regarding NARA and this matter. Please explain your theory of discoverability regarding
          NARA referrals in connection with other matters.

      14. The Government has already produced all responsive material to which the defense is
          entitled.




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      15. The Government has already produced all responsive material to which the defense is
          entitled.

      16. The responses to the multiple sub-parts of your request are provided below.

             a. We are producing with this letter at USA-01285284-USA-01285285 the document
              with the first paragraph unredacted.

             b. The Government has provided to you the materials at USA-00383394-USA-
              00383403, USA-00383404, USA-01261484-USA-01261485, USA-01261486-USA-
              01261487, USA-01261498, USA-01261548-USA-01261550, and USA-00383405-
              464.

      17. The Government has already produced all responsive material to which the defense is
          entitled.

      18. The responses to the multiple sub-parts of your request are provided below.

             a. The documents at issue are the same documents provided to you listed at 16.b.,
              above.

             b. The Government has already produced all responsive material to which the defense
              is entitled.

      19. The Government has already produced all responsive material to which the defense is
          entitled.

      20. The Government has already produced all responsive material to which the defense is
          entitled.

      21. Your request does not appear to call for the production of material to which the defense is
          entitled. Please explain the defense’s theory of discoverability.

      22. Your request does not appear to call for the production of material to which the defense is
          entitled. Please explain the defense’s theory of discoverability.

      23. Your request does not appear to call for the production of material to which the defense is
          entitled. Please explain the defense’s theory of discoverability.

      24. Your request does not appear to call for the production of material to which the defense is
          entitled. Please explain the defense’s theory of discoverability.

      25. Your request does not appear to call for the production of material to which the defense is
          entitled. Please explain the defense’s theory of discoverability.




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      26. The Government has already produced all responsive material to which the defense is
          entitled.

      27. Your request for a “description” of the FBI investigation addressed at USA-00941747-
          USA-00941749 and USA-00941750-USA-00941752 does not call for material that is
          discoverable under Rule 16. In any event, you are not entitled to material about other FBI
          investigations.

      28. The Government has already produced all responsive material to which the defense is
          entitled.

      29. The Government has already produced all responsive material to which the defense is
          entitled.

      30. Your request does not appear to call for the production of material to which the defense is
          entitled. Please explain the defense’s theory of discoverability.

      31. The Government has already produced all responsive material to which the defense is
          entitled.

      32. Your request does not call for material that is discoverable under Rule 16.

      33. Your request does not appear to call for the production of material to which the defense is
          entitled. Please explain the defense’s theory of discoverability.

      34. Your request does not appear to call for the production of material to which the defense is
          entitled. Please explain the defense’s theory of discoverability.

      35. As you know, an FBI FD-302 report memorializes an interview. The December 9, 2022
          conversation was not an interview, but a conversation with counsel related to a grand jury
          subpoena that issued the same day. The Government was not under any obligation to
          memorialize the conversation because no discoverable information was provided, yet the
          FBI did so, and even though not discoverable, the Government provided to counsel the
          memorialization (USA-0041912-USA-0041913). The responses to the multiple sub-parts
          of your request are provided below.

             a. The request does not call for material that is discoverable under Rule 16.

             b. The Government has already produced all responsive material to which the defense
              is entitled.

             c. The Government has already produced all responsive material to which the defense
              is entitled.




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      36. Your request for “other instances” does not call for material that is discoverable under Rule
          16. In any event, the Government has already produced all material to which the defense
          is entitled relating to this request.

      37. Your request does not appear to call for the production of material to which the defense is
          entitled. Please explain the defense’s theory of discoverability.

      38. As we have stated, we are in compliance with our discovery obligations. We are also aware
          of, and will comply with, our continuing duty to disclose newly discovered additional
          information required by this Court’s Standing Discovery Order, Rule 16(c) of the Federal
          Rules of Criminal Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.

      39. As we have stated, we are in compliance with our discovery obligations. We are also aware
          of, and will comply with, our continuing duty to disclose newly discovered additional
          information required by this Court’s Standing Discovery Order, Rule 16(c) of the Federal
          Rules of Criminal Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.

                                                Yours truly,

                                                JACK SMITH
                                                Special Counsel


                                        By:     s/ Julie A. Edelstein
                                                Julie A. Edelstein
                                                Senior Assistant Special Counsel

                                                Jay I. Bratt
                                                Counselor to the Special Counsel

                                                David V. Harbach, II
                                                Assistant Special Counsel

   cc: Stanley Woodward, Esq.
   Brand Woodward Law
   Via email

   Sasha Dadan, Esq.
   Dadan Law Firm, PLLC
   Via email

   John Irving, Esq.
   E & W Law
   Via email

   Larry Donald Murrell, Jr., Esq.
   Via email


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        EXHIBIT 15
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                                                                                            TODD BLANCHE
                                                                                            @blanchelaw.com
                                                                                              (

                                                          October 9, 2023

   Via Email
   Jay Bratt
   Julie Edelstein
   David Harbach
   Senior Assistant Special Counsels
   950 Pennsylvania Avenue NW
   Room B-206
   Washington, D.C. 20530

          Re:      United States v. Donald J. Trump, No. 23 Cr. 80101 (AMC)

   Dear Mr. Bratt, Ms. Edelstein, and Mr. Harbach:

           We write on behalf of President Trump, pursuant to Rule 16(a)(1)(E), Brady, and Giglio,
   to request the documents and information set forth below. In light of the current motions schedule,
   we respectfully request a response no later than October 16, 2023.

     I.   Background

           Each of the Requests set forth below calls for production of documents irrespective of their
   classification level. As used herein, the term “documents” includes (i) all communications,
   including memoranda, reports, letters, notes, emails, text messages, and other electronic
   communications; (ii) hard copies and electronically stored information, whether written, printed,
   or typed; and (iii) all drafts and copies.

          The Requests call for specified documents in the possession of the prosecution team. For
   the avoidance of doubt, based on our review of discovery to date, the term “prosecution team”
   means:

               All personnel of the Special Counsel’s Office, irrespective of an assignment to a
                particular investigation or matter;

               The following components of the Department of Justice: Office of the Attorney
                General, Office of the Deputy Attorney General, Office of Legal Counsel, National
                Security Division, Public Integrity Section, and the United States Attorney’s Office for
                the District of Columbia;

               The National Archives and Records Administration, including but not limited to
                NARA’s General Counsel’s Office, Office of the Inspector General, and White House
                Liaison Division;
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               Members of the Intelligence Community, as that term is defined in 50 U.S.C. § 3003(4),
                including ODNI and the IC’s Office of the Inspector General;

               In addition to those components of the FBI that are a part of the IC, the FBI’s
                Washington Field Office and Miami Field Division; and

               The White House Counsel’s Office.

   Please let us know if you disagree about our inclusion of any particular agency or component in
   the definition of the prosecution team.

    II.    Requests

           1.      Please provide all documents relating to security clearances, read-ins to
   compartmented programs, non-disclosure agreements, and training relating to the handling of
   classified information that were signed by or provided to President Trump at any time before,
   during, or after his time as President of the United States.

          2.         With respect to the search warrant executed at Mar-a-Lago, please provide the
   following:

                  a.       All documents relating to the planning and execution of the search,
           including all sketches;

                   b.       All documents relating to personnel present for the search, including sign-
           in logs; and

                     c.     The complete version of the photo log from the search.

            3.    Please provide the FBI’s “database inventory of the classified documents” and a
   list of the “FBI-assigned index code[s]” used during the investigation, including the production
   number of each document listed in the “database” and “index.” (See USA-00941764).

         4.     Please provide all communications relating to concurrences obtained to use
   documents during witness interviews.

           5.     For each search warrant obtained in connection with the investigation, please
   identify the “scoped” returns seized pursuant to the warrant by the Special Counsel’s Office or
   DOJ.

          6.      Please disclose all steps taken by the FBI’s Computer Analysis Response Team
   (CART) and Multimedia Exploitation Unit (MXU) in connection with CCTV from Mar-a-Lago,
   including the use of any software to expedite the review.




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          7.      Please disclose all steps taken by Deloitte in connection with the investigation,
   including but not limited to the processing, handling, and review of evidence and other case-related
   data.

          8.      Please identify by production number the documents referenced in the FBI FD-
   1057, titled “Corrections to Classification of Evidence Items” and bearing production number
   USA-00950313.

           9.     Please describe the scope and basis of the FBI’s declassification of certain case-
   related records on or about June 5, 2023. (See, e.g., USA-00940000 (“Declassified By: NSICG
   C32W33B91 On 06-05-2023”)).

          10.    Please provide a description of the following documents, including the author of
   the document, when the document was created, and the purpose of the document:

                     a.     USA-00940116;
                     b.     USA-00940123;
                     c.     USA-00940131;
                     d.     USA-00940152;
                     e.     USA-00940156;
                     f.     USA-00940295;
                     g.     USA-00940301;
                     h.     USA-00940303;
                     i.     USA-00941498 – 00941500; and
                     j.     USA-00941506 – USA-00941509.

         11.         Please provide the enclosures and/or attachments referenced in the following FBI
   documents:

                     a.     USA-00950276;
                     b.     USA-00950280;
                     c.     USA-00939793;
                     d.     USA-00940081;
                     e.     USA-00940220;
                     f.     USA-00940221;
                     g.     USA-00940230;
                     h.     USA-00940232;
                     i.     USA-00940236;
                     j.     USA-00940242;
                     k.     USA-00940248;
                     l.     USA-00940271;
                     m.     USA-00940410;
                     n.     USA-00940420;
                     o.     USA-00940422;
                     p.     USA-00940470;
                     q.     USA-00940473;

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                     r.     USA-00940477;
                     s.     USA-00940486;
                     t.     USA-00940490;
                     u.     USA-00940492;
                     v.     USA-00940497;
                     w.     USA-00940533;
                     x.     USA-00940539;
                     y.     USA-00940550;
                     z.     USA-00940555;
                     aa.    USA-00940557;
                     bb.    USA-00940659;
                     cc.    USA-00940737;
                     dd.    USA-00940752;
                     ee.    USA-00940762;
                     ff.    USA-00940765;
                     gg.    USA-00940904;
                     hh.    USA-00940912;
                     ii.    USA-00941287;
                     jj.    USA-00941309;
                     kk.    USA-00941316;
                     ll.    USA-00941325;
                     mm.    USA-00941327;
                     nn.    USA-00941352;
                     oo.    USA-00941451;
                     pp.    USA-00941784;
                     qq.    USA-00941967;
                     rr.    USA-00942279;
                     ss.    USA-00942366;
                     tt.    USA-00942518;
                     uu.    USA-00943088;
                     vv.    USA-00944069; and
                     ww.    USA-00944317.

        12.     For the period from January 20, 2021 to the present, please provide all
   communications by or including any NARA personnel relating to:

                  a.     The collection of records from President Trump and any other members of
           President Trump’s administration;

                   b.      NARA’s practices under, and application of, the Presidential Records Act
           with respect to President Trump, other members of President Trump’s administration, and
           former presidents and other members of those presidents’ administrations; and

                  c.     NARA’s historical practices with respect to the collection of records from
           former presidents and other members of those presidents’ administrations.


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           13.    Please identify all instances in which NARA has referred a matter to any other
   federal agency, including but not limited to DOJ, FBI, or a member of the IC (including IC-OIG)
   pursuant to 44 U.S.C. § 2112(c), 44 U.S.C. § 2905(a), or any other authority.

          14.    Please provide all documents relating to decisions pursuant to 44 U.S.C. § 2205(2),
   including documents relating to:

                 a.      The FBI’s April 4, 2022 request to DOJ for “coordination with White House
           Counsel on this matter” (USA-00940483);

                    b.      The “past practice” referenced in the FBI’s April 4, 2022 memorandum
           (id.); and

                c.     “[T]he incumbent President’s request” referenced in the FBI’s April 4, 2022
           memorandum (USA-00940484).

           15.     Please provide all documents relating to the “authority obtained by the Department
   of Justice” for the FBI’s May 16, 2022 “operation” at NARA. (USA-00940546).

         16.    With respect to the November 22, 2022 memorandum from the FBI to NARA’s
   General Counsel bearing production number USA-00940729:

                a.     Please explain the basis for the redaction of the first paragraph of the
           memorandum; and

                   b.      Please provide or identify all materials that NARA provided in response to
           the November 22, 2022 request, including (i) “All records or information demonstrating a
           declassification decision by the 45th Presidential Administration,” (ii) “Initial and periodic
           training for handling classified information for all White House personnel during the 45th
           Presidential Administration,” (iii) “Signed classified non-disclosure agreements for all
           White House personnel during the 45th Presidential Administration,” and (iv) “Initial and
           periodic training for handling classified information for all White House personnel during
           the 45th Presidential Administration.”

          17.    Please provide all documents relating to the January 26, 2023 video conference
   between the Special Counsel’s Office and NARA General Counsel Gary Stern, including but not
   limited to any recording of the video conference itself and notes and memoranda relating to
   “compliance considerations.” (USA-00941291).

           18.    With respect to the meeting on or about May 4, 2023 between the Special Counsel’s
   Office, FBI, and NARA General Counsel Gary Stern:

                  a.     Please identify by production number the “81 unclassified documents
           responsive to Grand Jury Subpoena 42-0064” that were discussed during the meeting
           (USA-00943085); and


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                     b.    Please provide all documents relating to the discussion of “multiple legal
           options relating to potential additional NARA records, that would ensure proper protocol .
           . .” (id.).

          19.    Please provide all documents relating to the February 2022 “Congressional
   Inquiry” to NARA referenced in the email bearing production number USA-00309425.

           20.    Please provide all documents stored in the FBI’s Guardian system relating to this
   case, including but not limited to:

                     a.     Communications and submissions from or relating to NARA; and

                  b.      FBI communications regarding the status of any open Guardian leads and
           matters related to the investigation.

           21.    Please provide all documents relating to Hillary Clinton’s mishandling of classified
   information while serving as Secretary of State between 2009 and 2013, including all documents
   reflecting assessments of any damage to national security interests and/or spills of classified
   information.

           22.     Please provide all documents relating to James Comey’s mishandling of classified
   information relating to meetings with President Trump in 2017 Mr. Comey was serving as FBI
   Director, including all documents reflecting assessments of any damage to national security
   interests and/or spills of classified information.

           23.    Please provide all documents relating to the July 15, 2021 New Yorker article titled
   “Letter From Biden’s Washington: ‘You’re Gonna Have a Fucking War’: Mark Milley’s Fight To
   Stop Trump From Striking Iran,” including all documents reflecting assessments of any damage
   to national security interests and/or spills of classified information. (USA-00370509).

           24.     Please provide descriptions of all classified documents, and all documents bearing
   classification markings, that were seized or otherwise collected from Mike Pence, Joseph Biden,
   and any other current or former elected federal official between January 2021 and the present.

           25.     Please provide all documents relating to briefings—including briefings by DOJ,
   FBI, and ODNI—to the Senate Intelligence Committee and the so-called “Gang of Eight” 1
   regarding documents collected from Mike Pence and Joseph Biden, any other current or former
   elected federal official.

          26.     With respect to the February 28, 2023 “briefing” and related “G of 8” review
   referenced in the discovery, please disclose the following:

   1
    For purposes of this Request, “Gang of Eight” refers to one or more of Senator Chuck Schumer,
   Senator Mitch McConnell, Senator Mark Warner, Senator Marco Rubio, Representative Kevin
   McCarthy, Representative Hakeem Jeffries, Representative Mike Turner, and Representative Jim
   Himes.
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                     a. The substance of the “Member’s interests articulated at the February 28
        briefing” (USA-00941832);

                      b. The documents included in “tranche 1” and “tranche 2” of the review and
        the corresponding production numbers (USA-00941831); and

                    c. All documents reflecting communications and interactions between
        members of the prosecution team and the Office of Congressional Affairs (see USA-
        00941829).

          27.    Please provide a description of the FBI investigation identified using the FBI
   “Special Case Code”               and its connection to this case. (See USA-00941747, USA-
   00941750).

          28.    Please provide all documents regarding the establishment of secure facilities at
   Mar-a-Lago and President Trump’s Bedminster residence, including communications with or
   regarding the White House Military Office or           .

           29.     Please provide all documents relating to the handling, storage, and classification
   status of the recordings and other materials provided to the Special Counsel’s Office and/or DOJ
   by      Per. 34       (including through Per. 34 counsel).

           30.    Please provide all records relating to the classification and declassification
   processes referenced by                            during his November 2021 testimony before the
   U.S. House Select Committee on the January 6 Attack. (See Tr. 169 (“I classified the document
   at the beginning of this process . . . . We can get this stuff properly processed and unclassified.”)).

          31.    Please disclose all documents relating to the alleged statements attributed to
   President Trump on or about June 3, 2022 in the email thread bearing production number USA-
   00940265.

          32.    Please disclose how the Special Counsel’s Office plans to address the witness-
   advocate problems arising from the following:

                     a. Mr. Bratt’s presence during the alleged statements attributed to President
        Trump on or about June 3, 2022; and

                      b. The presence of Assistant Special Counsels          Per. 6      and Per. 23
                at Mar-a-Lago during the execution of the search warrant on or about August 8, 2022.

         33.     Please provide all documents relating to the call on or about August 3, 2022
   between DOJ and FBI during which, according to the August 4, 2022 email from FBI ASAC FBI 10
         bearing production number USA-00940276, the following occurred:



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                       a. George Toscas stated “that ‘he frankly doesn’t give a damn about the
        optics” of the anticipated search at Mar-a-Lago;

                   b. It was acknowledged that Mr. Bratt “has built an antagonistic relationship
        with FPOTUS’s attorney over the service of the Grand Jury Subpoena”; and

                      c. “DOJ said” that “DOJ contact with         Per. 18    just prior to the execution
        of the warrant will not go well.”

          34.    With respect to Special Agent            FBI 19        August 9, 2022 email bearing
   production number USA-00940286:

                 a.   Please disclose, and provide all documents regarding, the “additional detail
           WRT to FLOTUS” referenced by Special Agent FBI 19 and

                 b.     Please disclose, and provide all documents regarding, the basis for Special
           Agent FBI 19 assertion that President Trump “maintain[s] a [SCIF] with him”;

                  c.      Please disclose, and provide all documents regarding, the communications
           referenced in the following assertion by Special Agent FBI 19 “This tenet of the case has
           been discussed repeatedly and with DOJ.”

          35.   With respect to the instruction by Ms. Edelstein to FBI personnel on or about
   December 9, 2022 to not create an FBI FD-302 report relating to a conversation with counsel for
   Per. 34      , please provide the following:

                     a.     A description of the basis for Ms. Edelstein’s instruction;

                     b.     All notes and communications reflecting or relating to the instruction; and

                  c.        All notes and communications relating to conversations with Ms. Per. 34
           counsel.

           36.    Please disclose any other instances in which an attorney participating in the
   investigation instructed or authorized investigative personnel not to create reports or other
   documentation relating to case-related communications and interviews.

            37.     Please provide all documents, including but not limited to internal emails and court
   filings, relating to the Rule 6 violation during the February 2023 grand jury testimony of


           38.   With respect to your representations to the Court regarding current compliance with
   Rule 16 and Brady, please confirm that you have conducted a case-file review consistent with
   Justice Manual § 9-5.002.



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          39.     With respect to your representation to the Court that “all” witness statements have
   been produced, please confirm that your review of materials potentially subject to the Jencks Act
   and Giglio has included all electronic facilities used by each witness, including both classified and
   unclassified email accounts, classified and unclassified chat and messaging programs, personal
   email accounts, personal phones, and personal messaging apps.

          We expect to submit additional questions and requests on a rolling basis. Please let us
   know if you would like to discuss any of these issues.

                                                         Respectfully Submitted,

                                                         /s/ Todd Blanche
                                                         Todd Blanche
                                                         Emil Bove
                                                         Stephen Weiss
                                                         Blanche Law PLLC

                                                         Christopher M. Kise
                                                         Chris Kise & Associates, P.A.

                                                         Attorneys for Donald J. Trump


   Cc:     Sasha Dadan
           Stanley Woodword
           Counsel for Waltine Nauta
           (Via Email)

           John Irving
           Larry Murrell
           Counsel for Carlos De Oliveira
           (Via Email)




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